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                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA
                              PHILADELPHIA DIVISION

 IN RE:                                           CASE NO.: 22-11948-amc
                                                  CHAPTER 13
 Susan M. Woolbert,
   Debtor.

 _________________________________/

 Wilmington Savings Fund Society,
 FSB, d/b/a Christiana Trust, not                 Chapter 13
 individually but as trustee for
 Pretium Mortgage Acquisition                     Hearing: August 30, 2022 at 11:00 am
 Trust,

          Movant,
 v.

 Susan M. Woolbert,
 Kenneth E. West,

        Respondents.

 _________________________________/

  ORDER GRANTING PROSPECTIVE IN REM RELIEF FROM AUTOMATIC STAY
                      AND CO-DEBTOR STAY

       AND NOW, this           31st day of August, 2022, upon consideration of Wilmington Savings

Fund Society, FSB, d/b/a Christiana Trust, not individually but as trustee for Pretium Mortgage

Acquisition Trust’s Motion for Relief from Automatic Stay, pursuant to 11 U.S.C. § 362(d) and

11 U.S.C. § 1301, any response thereto and that it is not necessary for an effective

reorganization, it is hereby

       ORDERED, that the automatic stay provisions of Section 362 of the Bankruptcy Code

are hereby unconditionally terminated with respect to Wilmington Savings Fund Society, FSB,
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d/b/a Christiana Trust, not individually but as trustee for Pretium Mortgage Acquisition Trust;

and it is further

        ORDERED, that Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not

individually but as trustee for Pretium Mortgage Acquisition Trust, its successors and/or

assigness be entitled to proceed with appropriate state court remedies against the property

located at 520 Deerfield Drive, Trooper, Pennsylvania 19403, including without limitation a

sheriff’s sale of the property, and it is further

        ORDERED, that pursuant to 11 U.S.C. § 362(d)(4), and provided that this Order is

recorded in conformity therewith, the automatic stay under 11 U.S.C. § 362(a) as to Creditor’s

interest in the Collateral shall not be in effect and shall be deemed to have been terminated, and

this Order shall be binding, in any other case filed under the Bankruptcy Code, regardless of the

federal district the subsequent case is filed in, purporting to affect the Collateral that is

commenced not later than two years after the date of this Order, such that the automatic stay

under 11 U.S.C. § 362(a), and if a chapter 13 case is filed, the co-debtor stay under 11 U.S.C. §

1301(a), that may otherwise be in place upon a further filing under the Bankruptcy Code, shall

not apply to Creditor’s interest in the Collateral; and it is further


                                                                BY THE COURT


                                                                ______________________________
                                                                Hon. Ashely M. Chan
                                                                U.S. Bankruptcy Court Judge
